       Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                  Page 1 of 53
B 201A (Form 201A) (11/12)



                                               UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF NORTH CAROLINA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                     Best Case Bankruptcy
       Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                 Page 2 of 53
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                    Best Case Bankruptcy
         Case 13-00923-8-SWH                       Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                               Page 3 of 53



B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re     Anthony Bush                                                                                      Case No.       13-00923-8
                                                                                 Debtor(s)                   Chapter        13

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Anthony Bush                                                                       X /s/ Anthony Bush                             March 1, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                          Date

Case No. (if known) 13-00923-8                                                     X
                                                                                       Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                 Best Case Bankruptcy
         Case 13-00923-8-SWH                       Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                    Page 4 of 53
B22C (Official Form 22C) (Chapter 13) (12/10)
In re  Anthony Bush                                                    According to the calculations required by this statement:
              Debtor(s)                                                  The applicable commitment period is 3 years.
Case Number:  13-00923-8                                                 The applicable commitment period is 5 years.
                     (If known)                                          Disposable income is determined under § 1325(b)(3).
                                                                         Disposable income is not determined under § 1325(b)(3).
                                                                       (Check the boxes as directed in Lines 17 and 23 of this statement.)


                     CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
               AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.
                                                                   Part I. REPORT OF INCOME
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1      a. Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
            b. Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
            All figures must reflect average monthly income received from all sources, derived during the six Column A                         Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the     Debtor's                          Spouse's
            six-month total by six, and enter the result on the appropriate line.                              Income                           Income

     2      Gross wages, salary, tips, bonuses, overtime, commissions.                                                 $             0.00 $
            Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
            enter the difference in the appropriate column(s) of Line 3. If you operate more than one business,
            profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
            number less than zero. Do not include any part of the business expenses entered on Line b as
     3      a deduction in Part IV.
                                                                        Debtor                 Spouse
             a.     Gross receipts                               $           6,619.17 $
             b.     Ordinary and necessary business expenses $               4,741.48 $
             c.     Business income                              Subtract Line b from Line a                    $               1,877.69 $
            Rents and other real property income. Subtract Line b from Line a and enter the difference in
            the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
            part of the operating expenses entered on Line b as a deduction in Part IV.
     4                                                                Debtor                Spouse
             a.    Gross receipts                               $              0.00 $
             b.    Ordinary and necessary operating expenses $                 0.00 $
             c.    Rent and other real property income          Subtract Line b from Line a                            $             0.00 $
     5      Interest, dividends, and royalties.                                                                        $             0.00 $
     6      Pension and retirement income.                                                                             $        1,068.00 $
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
            debtor's spouse. Each regular payment should be reported in only one column; if a payment is
            listed in Column A, do not report that payment in Column B.                                                $             0.00 $
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $                    0.00 Spouse $                      $             0.00 $




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
         Case 13-00923-8-SWH                       Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                              Page 5 of 53
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                           2

            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Total and enter on Line 9. Do not include alimony or separate
            maintenance payments paid by your spouse, but include all other payments of alimony or
            separate maintenance. Do not include any benefits received under the Social Security Act or
     9      payments received as a victim of a war crime, crime against humanity, or as a victim of
            international or domestic terrorism.
                                                                    Debtor                    Spouse
             a.                                             $                        $
             b.                                             $                        $                      $                  0.00 $
    10      Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9
            in Column B. Enter the total(s).                                                               $               2,945.69 $
    11      Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
            the total. If Column B has not been completed, enter the amount from Line 10, Column A.        $                                  2,945.69

                                 Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12      Enter the amount from Line 11                                                                                           $          2,945.69
            Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
            calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
            enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for
            the household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
            income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
    13      debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
            on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
             a.                                                               $
             b.                                                               $
             c.                                                               $
            Total and enter on Line 13                                                                                              $                0.00
    14      Subtract Line 13 from Line 12 and enter the result.                                                                     $          2,945.69

    15      Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
            enter the result.                                                                                                       $        35,348.28
            Applicable median family income. Enter the median family income for applicable state and household size. (This
    16      information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
             a. Enter debtor's state of residence:                NC     b. Enter debtor's household size:             1            $        39,885.00
            Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                  The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years" at the
    17            top of page 1 of this statement and continue with this statement.
                  The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5 years"
                  at the top of page 1 of this statement and continue with this statement.
                              Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18      Enter the amount from Line 11.                                                                                          $          2,945.69
            Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of
            any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
            debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B income(such as
            payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
            dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
    19      separate page. If the conditions for entering this adjustment do not apply, enter zero.
             a.                                                               $
             b.                                                               $
             c.                                                               $
            Total and enter on Line 19.                                                                                             $                0.00
    20      Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                            $          2,945.69




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
       Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                       Page 6 of 53
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                    3

    21      Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
            enter the result.                                                                                               $         35,348.28
    22      Applicable median family income. Enter the amount from Line 16.                                                 $         39,885.00
            Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under §
    23          1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
                The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not determined under §
                1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                             Best Case Bankruptcy
       Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                Page 7 of 53
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                                4



                                                                       Part VII. VERIFICATION
            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
            must sign.)
    61                    Date: March 1, 2013                                           Signature: /s/ Anthony Bush
                                                                                                     Anthony Bush
                                                                                                                (Debtor)




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
       Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                    Page 8 of 53
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                              5


                                               Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 08/01/2012 to 01/31/2013.

Line 3 - Income from operation of a business, profession, or farm
Source of Income: AB & Associates DBA Tri County Trucking
Income/Expense/Net by Month:
                          Date                                         Income                    Expense                   Net
 6 Months Ago:                  08/2012                                     $7,133.00                 $5,161.25                  $1,971.75
 5 Months Ago:                  09/2012                                     $7,133.00                 $5,161.25                  $1,971.75
 4 Months Ago:                  10/2012                                     $7,133.00                 $5,161.25                  $1,971.75
 3 Months Ago:                  11/2012                                     $7,133.00                 $5,161.25                  $1,971.75
 2 Months Ago:                  12/2012                                     $7,133.00                 $5,161.25                  $1,971.75
 Last Month:                    01/2013                                     $4,049.99                 $2,642.60                  $1,407.39
                      Average per month:                                    $6,619.17                 $4,741.48
                                                                                        Average Monthly NET Income:              $1,877.69




Line 6 - Pension and retirement income
Source of Income: Department of Defense
Constant income of $1,068.00 per month.




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                       Best Case Bankruptcy
         Case 13-00923-8-SWH                       Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                    Page 9 of 53

B7 (Official Form 7) (12/12)



                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re       Anthony Bush                                                                                      Case No.       13-00923-8
                                                                                Debtor(s)                      Chapter        13

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $4,049.99                         2013: A&B Assoc DBA Tri County Trucking
                          $85,596.00                        2012: A&B Assoc DBA Tri County Trucking
                          $63,481.00                        2011: A&B Assoc DBA Tri County Trucking

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $2,646.00                         2013: Military Retirement


Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                           Best Case Bankruptcy
         Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                               Page 10 of
                                                                      53

B 7 (12/12)                                                                                                                                                 2

                        AMOUNT                              SOURCE
                        $12,156.00                          2012: Military Retirement
                        $12,156.00                          2011: Military Retirement

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
    OF CREDITOR                                                         PAYMENTS                             AMOUNT PAID                 OWING
*Sonja Jackson                                                          Monthly                                  $461.97                   $0.00
1611 Gander Drive
Wilmington, NC 28405

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF        COURT OR AGENCY                                  STATUS OR
AND CASE NUMBER                                                        PROCEEDING       AND LOCATION                                     DISPOSITION
Nationstar Morgage vs Anthony D. Bush                                  Foreclosure      NHC Clerk of Superior Court                      Sale
10SP0461                                                                                                                                 conducted
                                                                                                                                         02/05/13

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)



*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                               Page 11 of
                                                                      53

B 7 (12/12)                                                                                                                                                 3


NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE             PROPERTY

              5. Repossessions, foreclosures and returns

   None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                   PROPERTY
Brook & Scott PLLC                                             02/05/13                       House and Lot located at 143 Francis Marion
Attn: Timothy L Hanson                                                                        Drive Wilmington NC 28411
5121 Parkway Plaza Dr. Ste 300
Charlotte, NC 28271                                                                           Tax Value $283,839.00

              6. Assignments and receiverships

   None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                    PROPERTY

              7. Gifts

   None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                             DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT             VALUE OF GIFT

              8. Losses

   None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                      Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                 Page 12 of
                                                                      53

B 7 (12/12)                                                                                                                                                   4

              9. Payments related to debt counseling or bankruptcy

   None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
              preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                 AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                          OR DESCRIPTION AND VALUE
     OF PAYEE                                                                THAN DEBTOR                                      OF PROPERTY
Gillespie & Murphy, PA                                                 01/15/2013                                     $1000.00 Attorney Fees
Attn Managing Agent                                                                                                   $281.00 Filing Fees
PO Drawer 888                                                                                                         $20.00 Credit Report
New Bern, NC 28563                                                                                                    $34.00 Credit Counseling

              10. Other transfers

   None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                            AND VALUE RECEIVED

   None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)              IN PROPERTY

              11. Closed financial accounts

   None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
              include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
              unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING

              12. Safe deposit boxes

   None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                       DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                       OF CONTENTS                    SURRENDER, IF ANY

              13. Setoffs

   None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                  AMOUNT OF SETOFF


Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                               Page 13 of
                                                                      53

B 7 (12/12)                                                                                                                                                5

              14. Property held for another person

   None       List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

              15. Prior address of debtor

   None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY

              16. Spouses and Former Spouses

   None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
              Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
              commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
              the community property state.

NAME

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
              statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
              or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
              the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                  STATUS OR DISPOSITION




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                      Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                 Page 14 of
                                                                      53

B 7 (12/12)                                                                                                                                                  6

              18 . Nature, location and name of business

   None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
              partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
              immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
              within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
              years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
              years immediately preceding the commencement of this case.

                    LAST FOUR DIGITS OF
                    SOCIAL-SECURITY OR
                    OTHER INDIVIDUAL
                    TAXPAYER-I.D. NO.                                                                                             BEGINNING AND
NAME                (ITIN)/ COMPLETE EIN                         ADDRESS                         NATURE OF BUSINESS               ENDING DATES
A&B Associates DBA 30-023-6759                                   143 Francis Marion Drive        Transportation                   November 2000 -
Tri County Trucking                                              Wilmington, NC 28411                                             Present

   None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

              19. Books, records and financial statements

   None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

   None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
              of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                   DATES SERVICES RENDERED

   None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
              of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                   ADDRESS

   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
              issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                                DATE ISSUED




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                        Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                 Page 15 of
                                                                      53

B 7 (12/12)                                                                                                                                                   7

              20. Inventories

   None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                          DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

   None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

              21 . Current Partners, Officers, Directors and Shareholders

   None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

   None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                          NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

              22 . Former partners, officers, directors and shareholders

   None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

NAME                                                      ADDRESS                                                   DATE OF WITHDRAWAL

   None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION

              23 . Withdrawals from a partnership or distributions by a corporation

   None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
              in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
              commencement of this case.

NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                               OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                  VALUE OF PROPERTY

              24. Tax Consolidation Group.

   None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
              of the case.

NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                              Page 16 of
                                                                      53

B 7 (12/12)                                                                                                                                               8

              25. Pension Funds.

   None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
              employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                               TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                        ******




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                     Page 17 of
                                                                      53

B 7 (12/12)                                                                                                                                                       9

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date March 1, 2013                                                     Signature   /s/ Anthony Bush
                                                                                   Anthony Bush
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
             Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                          Page 18 of
                                                                          53
B6A (Official Form 6A) (12/07)


         }
         b
         k
         1
         {
         S
         c
         h
         e
         d
         u
         l
         A
         -
         R
         a
         P
         r
         o
         p
         t
         y




 In re         Anthony Bush                                                                                  Case No.     13-00923-8
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

House & Lot located at 143 Francis Marion Dr.                            Fee simple                  -                  254,999.10                 86,322.00
Wilmington NC 28411
FMV: $ 254,999.10 (TV $283,839.00 - 10%
liquidation cost)
Purchased: 04/18/1995
Price: $ 146,000.00
TV: $ 283,839.00
Ownership: Debtor
Monthly Contractual Payment (P/I/E): $1381.00 (2nd
Mortgage $610.00 due 5th of month)
Due: 1st




                                                                                                 Sub-Total >            254,999.10         (Total of this page)

                                                                                                         Total >        254,999.10
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
             Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                 Page 19 of
                                                                           53
B6B (Official Form 6B) (12/07)


         }
         k
         b
         {
         1
         S
         c
         h
         e
         d
         u
         l
         B
         -
         P
         r
         s
         o
         n
         a
         p
         t
         y




 In re         Anthony Bush                                                                                      Case No.       13-00923-8
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        Debtors Cash on hand                                              -                            15.00

2.    Checking, savings or other financial                Bank of America Business Checking Acct ending in                  -                      47,346.66
      accounts, certificates of deposit, or               6596
      shares in banks, savings and loan,
      thrift, building and loan, and                      Bank Of America Checking ending in 7658                           -                            11.14
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Small Kitchen Appliances                                          -                            50.00
      including audio, video, and
      computer equipment.                                 Stove                                                             -                           200.00

                                                          Refrigerator                                                      -                           200.00

                                                          Microwave                                                         -                            25.00

                                                          Dishwasher                                                        -                            75.00

                                                          Washing Machine                                                   -                           100.00

                                                          Dryer                                                             -                           100.00

                                                          China & Dishes                                                    -                           250.00

                                                          Silverware                                                        -                           150.00

                                                          Bedroom Furniture                                                 -                           200.00

                                                          Dining Room Furniture                                             -                           300.00

                                                          Televisions                                                       -                           500.00

                                                          Stereo/Radio                                                      -                           125.00



                                                                                                                            Sub-Total >          49,647.80
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 13-00923-8-SWH                            Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                 Page 20 of
                                                                           53
B6B (Official Form 6B) (12/07) - Cont.




 In re         Anthony Bush                                                                                      Case No.       13-00923-8
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption
                                                          VCR/DVD                                                           -                            75.00

                                                          Computer, Printer, Hardware & Software                            -                           500.00

                                                          Lawn Mower                                                        -                            65.00

                                                          Yard Maintenance toold & Equipment                                -                           150.00

                                                          Office Equipment furnishings & supplies                           -                            85.00

                                                          Any and all miscellaneous household goods and                     -                        1,050.00
                                                          personal items.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing                                                          -                           500.00

7.    Furs and jewelry.                                   Jewelry                                                           -                           300.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.




                                                                                                                            Sub-Total >            2,725.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 13-00923-8-SWH                            Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                 Page 21 of
                                                                           53
B6B (Official Form 6B) (12/07) - Cont.




 In re         Anthony Bush                                                                                      Case No.      13-00923-8
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 13-00923-8-SWH                            Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                  Page 22 of
                                                                           53
B6B (Official Form 6B) (12/07) - Cont.




 In re         Anthony Bush                                                                                      Case No.        13-00923-8
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

25. Automobiles, trucks, trailers, and                    2007 Jeep Cherokee Grand Sport-8                                   -                     26,625.00
    other vehicles and accessories.                       VIN:1J8HR783X7C513144
                                                          FMV: $ 26,625.00 Nada 02.05.13
                                                          Purchased: 2007
                                                          Price: $ 31,650.00
                                                          Mileage: 90,129
                                                          Ownership: Debtor

                                                          1999 Kenworth W9001                                                -                     38,990.00
                                                          VIN: 1XKWDB9X0XR816436
                                                          FMV: $38,990.00
                                                          Purchased: 12/2000
                                                          Price: $86,000.00
                                                          Mileage: 891,331
                                                          Ownership: Debtor

                                                          1988 Raven Flatbed Trailer                                         -                     16,000.00
                                                          VIN: 1R1F04823JE880217
                                                          FMV: $16,000.00
                                                          Purchased: 2007
                                                          Price: $20,000.00
                                                          Mileage: NA
                                                          Ownership: Debtor

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >          81,615.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >        133,987.80
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
              Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                          Page 23 of
                                                                           53
 B6C (Official Form 6C) (4/10)


          E
          }
          x
          b
          e
          k
          m
          1
          p
          {
          t
          S
          c
          h
          d
          u
          l
          C
          -
          P
          r
          o
          y
          a
          i
          s




  In re         Anthony Bush                                                                                          Case No.          13-00923-8
                                                                                                          ,
                                                                                        Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                        Value of                 Current Value of
                  Description of Property                                          Each Exemption                            Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Real Property
House & Lot located at 143 Francis Marion Dr.                             N.C. Gen. Stat. § 1C-1601(a)(1)                         30,000.00                      254,999.10
Wilmington NC 28411
FMV: $ 254,999.10 (TV $283,839.00 - 10%
liquidation cost)
Purchased: 04/18/1995
Price: $ 146,000.00
TV: $ 283,839.00
Ownership: Debtor
Monthly Contractual Payment (P/I/E): $1381.00
(2nd Mortgage $610.00 due 5th of month)
Due: 1st

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank Of America Checking ending in 7658           38 U.S.C. § 5301(a)                                                                   11.14                            11.14

Household Goods and Furnishings
Small Kitchen Appliances                                                  N.C. Gen. Stat. § 1C-1601(a)(4)                               50.00                            50.00

Stove                                                                     N.C. Gen. Stat. § 1C-1601(a)(4)                             200.00                            200.00

Refrigerator                                                              N.C. Gen. Stat. § 1C-1601(a)(4)                             200.00                            200.00

Microwave                                                                 N.C. Gen. Stat. § 1C-1601(a)(4)                               25.00                            25.00

Dishwasher                                                                N.C. Gen. Stat. § 1C-1601(a)(4)                               75.00                            75.00

Washing Machine                                                           N.C. Gen. Stat. § 1C-1601(a)(4)                             100.00                            100.00

Dryer                                                                     N.C. Gen. Stat. § 1C-1601(a)(4)                             100.00                            100.00

China & Dishes                                                            N.C. Gen. Stat. § 1C-1601(a)(4)                             250.00                            250.00

Silverware                                                                N.C. Gen. Stat. § 1C-1601(a)(4)                             150.00                            150.00

Bedroom Furniture                                                         N.C. Gen. Stat. § 1C-1601(a)(4)                             200.00                            200.00

Dining Room Furniture                                                     N.C. Gen. Stat. § 1C-1601(a)(4)                             300.00                            300.00

Televisions                                                               N.C. Gen. Stat. § 1C-1601(a)(4)                             500.00                            500.00

Stereo/Radio                                                              N.C. Gen. Stat. § 1C-1601(a)(4)                             125.00                            125.00

VCR/DVD                                                                   N.C. Gen. Stat. § 1C-1601(a)(4)                               75.00                            75.00

Computer, Printer, Hardware & Software                                    N.C. Gen. Stat. § 1C-1601(a)(4)                             500.00                            500.00

Lawn Mower                                                                N.C. Gen. Stat. § 1C-1601(a)(4)                               65.00                            65.00

Yard Maintenance toold & Equipment                                        N.C. Gen. Stat. § 1C-1601(a)(4)                             150.00                            150.00


    1     continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 13-00923-8-SWH                           Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                         Page 24 of
                                                                           53
 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Anthony Bush                                                                                Case No.     13-00923-8
                                                                                                        ,
                                                                                         Debtor

                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing           Value of            Current Value of
                  Description of Property                                          Each Exemption               Claimed             Property Without
                                                                                                               Exemption          Deducting Exemption

Office Equipment furnishings & supplies                                   N.C. Gen. Stat. § 1C-1601(a)(4)                85.00                    85.00

Any and all miscellaneous household goods                                 N.C. Gen. Stat. § 1C-1601(a)(4)              1,050.00               1,050.00
and personal items.

Wearing Apparel
Clothing                                                                  N.C. Gen. Stat. § 1C-1601(a)(4)               500.00                   500.00

Furs and Jewelry
Jewelry                                                                   N.C. Gen. Stat. § 1C-1601(a)(4)               300.00                   300.00

Automobiles, Trucks, Trailers, and Other Vehicles
2007 Jeep Cherokee Grand Sport-8                                          N.C. Gen. Stat. § 1C-1601(a)(3)              3,500.00             26,625.00
VIN:1J8HR783X7C513144
FMV: $ 26,625.00 Nada 02.05.13
Purchased: 2007
Price: $ 31,650.00
Mileage: 90,129
Ownership: Debtor

1999 Kenworth W9001                                                       N.C. Gen. Stat. § 1C-1601(a)(5)              2,000.00             38,990.00
VIN: 1XKWDB9X0XR816436                                                    N.C. Gen. Stat. § 1C-1601(a)(2)              5,000.00
FMV: $38,990.00
Purchased: 12/2000
Price: $86,000.00
Mileage: 891,331
Ownership: Debtor




                                                                                                  Total:           45,511.14               325,625.24
 Sheet     1    of     1    continuation sheets attached to the Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                            Page 25 of
                                                                      53
Rev. 12/2009
                                                             UNITED STATES BANKRUPTCY COURT
                                                            EASTERN DISTRICT OF NORTH CAROLINA

IN THE MATTER OF:                                                                                                CASE NUMBER:
Anthony Bush                                                                                                     13-00923-8
            Debtor(s).


                                                       SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

         I,  Anthony Bush         , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North Carolina,
and nonbankruptcy Federal law: (Attach additional sheets if necessary).

           1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant
with rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the
former co-owner, if a child use initials only, of the property below).

                                            Owner
                                            (H)Husband                                  Amount of
Description of Property              Market (W)Wife    Mortgage Holder                   Mortgage               Net       Value Claimed as Exempt
and Address                           Value (J)Joint   or Lien Holder                      or Lien            Value Pursuant to NCGS 1C-1601(a)(1)
House & Lot                   254,999.10                       Nationstar              45,484.00       168,677.10                            30,000.00
located at 143                                                 Mortgage                40,838.00
Francis Marion Dr.                                             Bank Of America,
Wilmington NC                                                  N.a.
28411
FMV: $ 254,999.10
(TV $283,839.00 -
10% liquidation
cost)
Purchased:
04/18/1995
Price: $ 146,000.00
TV: $ 283,839.00
Ownership: Debtor
Monthly
Contractual
Payment (P/I/E):
$1381.00 (2nd
Mortgage $610.00
due 5th of month)
Due: 1st

Debtor's Age:
Name of former co-owner:

                                            VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                         30,000.00

           2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                            Owner
                                            (H)Husband
Model, Year                          Market (W)Wife                                     Amount of               Net       Value Claimed as Exempt
Style of Auto                         Value (J)Joint   Lien Holder                          Lien              Value Pursuant to NCGS 1C-1601(a)(3)
2007 Jeep                       26,625.00                                                                26,625.00                             3,500.00
Cherokee Grand
Sport-8
VIN:1J8HR783X7C5
13144
FMV: $ 26,625.00
Nada 02.05.13
Purchased: 2007
Price: $ 31,650.00
Mileage: 90,129
Ownership: Debtor

                                       VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                              3,500.00
Schedule C-1 - Property Claimed as Exempt - 12/2009
Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                          Page 26 of
                                                                      53

         3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is 0 .

                                                     Owner
                                                     (H)Husband                                                                   Claimed as Exempt
Description                                   Market (W)Wife           Lien                         Amount                  Net    Pursuant to NCGS
of Property                                    Value (J)Joint          Holder                        of Lien              Value        1C-1601(a)(4)
Any and all
miscellaneous
household goods
and personal items.                       1,050.00                                                                    1,050.00              1,050.00
Bedroom Furniture                           200.00                                                                      200.00                200.00
China & Dishes                              250.00                                                                      250.00                250.00
Clothing                                    500.00                                                                      500.00                500.00
Computer, Printer,
Hardware &
Software                                     500.00                                                                     500.00                500.00
Dining Room
Furniture                                    300.00                                                                     300.00                300.00
Dishwasher                                    75.00                                                                      75.00                 75.00
Dryer                                        100.00                                                                     100.00                100.00
Jewelry                                      300.00                                                                     300.00                300.00
Lawn Mower                                    65.00                                                                      65.00                 65.00
Microwave                                     25.00                                                                      25.00                 25.00
Office Equipment
furnishings &
supplies                                      85.00                                                                      85.00                 85.00
Refrigerator                                 200.00                                                                     200.00                200.00
Silverware                                   150.00                                                                     150.00                150.00
Small Kitchen
Appliances                                    50.00                                                                      50.00                 50.00
Stereo/Radio                                 125.00                                                                     125.00                125.00
Stove                                        200.00                                                                     200.00                200.00
Televisions                                  500.00                                                                     500.00                500.00
VCR/DVD                                       75.00                                                                      75.00                 75.00
Washing Machine                              100.00                                                                     100.00                100.00
Yard Maintenance
toold & Equipment                            150.00                                                                     150.00                150.00

                                                                  VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                 5,000.00

           4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                            Owner
                                            (H)Husband
                                     Market (W)Wife    Lien                             Amount of                Net       Value Claimed as Exempt
Description                           Value (J)Joint   Holder                               Lien               Value Pursuant to NCGS 1C-1601(a)(5)
1999 Kenworth                   38,990.00                                                                38,990.00                          2,000.00
W9001
VIN:
1XKWDB9X0XR816
436
FMV: $38,990.00
Purchased:
12/2000
Price: $86,000.00
Mileage: 891,331
Ownership: Debtor

                                                                  VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                 2,000.00

           5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).

Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                             Page 2
Software Copyright (c) 1996-2010 CCH INCORPORATED - www.bestcase.com                                                                 Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                             Page 27 of
                                                                      53
                                                                                                                                                     Cash
Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                           Value
-NONE-

           6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).

Description
-NONE-

        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

Description AND Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability
Policy/Annuity
-NONE-

         8. NCGS 1C-1601(a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1C-1601(a)(1)).

                                            Owner
                                            (H)Husband
Description of Property              Market (W)Wife    Lien                                  Amount              Net       Value Claimed as Exempt
and Address                           Value (J)Joint   Holder                                 of Lien          Value Pursuant to NCGS 1C-1601(a)(2)
1999 Kenworth                   38,990.00                                                                38,990.00                              5,000.00
W9001
VIN:
1XKWDB9X0XR816
436
FMV: $38,990.00
Purchased:
12/2000
Price: $86,000.00
Mileage: 891,331
Ownership: Debtor

                                                                  VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $                     5,000.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

Type of Account\Location of Account\Last Four Digits of Account Number
-NONE-

          10. NCGS 1C-1601(a)(10) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually
be used for the child's college or university expenses.

College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary
-NONE-

        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefits are exempt under the laws of the state or
governmental unit under which the benefit plan is established).

Name of Retirement Plan\State Governmental Unit\Last Four Digits of Identifying Number
-NONE-



Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                                 Page 3
Software Copyright (c) 1996-2010 CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                  Page 28 of
                                                                      53

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

Type of Support\Amount\Location of Funds
-NONE-

         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

Description of                              Market Lien                                                                Amount                                 Net
Property and Address                         Value Holder                                                               of Lien                             Value
-NONE-

                                                                                                        VALUE CLAIMED AS EXEMPT: $                           0.00

           14. NORTH CAROLINA PENSION FUND EXEMPTIONS

           -NONE-

           15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

           -NONE-

           16. FEDERAL PENSION FUND EXEMPTIONS

a.         Veterans' Benefits, 38 U.S.C. § 5301(a)                                                                                                         11.14

           17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

           -NONE-

           18. RECENT PURCHASES

           (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition.

                                                                         Market Lien                                                 Amount                   Net
Description                                                               Value Holder                                                of Lien               Value
-NONE-

          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt
and that was not acquired by transferring or using additional property.

Description of Replacement Property                                    Description of Property Liquidated or Converted that May Be Exempt




Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                                        Page 4
Software Copyright (c) 1996-2010 CCH INCORPORATED - www.bestcase.com                                                                            Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                               Page 29 of
                                                                      53

           19. The debtor's property is subject to the following claims:

a.          Of the United States or its agencies as provided by federal law.
b.          Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
c.          Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.
d.          Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
e.          For payment of obligations contracted for the purchase of specific real property affected.
f.          For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
            notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
g.          For statutory liens, on the specific property affected, other than judicial liens.
h.          For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.
i.          For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
j.          Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).
k.          Debts of a kind specified in 11 U.S.C. § 522(c).

                                      Nature of                          Amount of Description of                                   Value                 Net
Claimant                              Claim                                 Claim Property                                     of Property              Value
-NONE-

         None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.


           None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim
only the maximum amount allowed by statute.




Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                                     Page 5
Software Copyright (c) 1996-2010 CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
        Case 13-00923-8-SWH                          Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                           Page 30 of
                                                                      53

                                 UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                            TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,    Anthony Bush         , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as Exempt,
consisting of 6 sheets, and that they are true and correct to the best of my knowledge, information and belief.




Executed on: March 1, 2013
                                                                            Anthony Bush
                                                                                                              Debtor




Schedule C-1 - Property Claimed as Exempt - 12/2009                                                                                               Page 6
Software Copyright (c) 1996-2010 CCH INCORPORATED - www.bestcase.com                                                                   Best Case Bankruptcy
              Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                         Page 31 of
                                                                           53
 B6D (Official Form 6D) (12/07)


          }
          e
          b
          c
          k
          u
          1
          r
          {
          S
          d
          h
          C
          l
          a
          i
          m
          s
          D
          -
          t
          o
          H
          n
          g




  In re         Anthony Bush                                                                                               Case No.     13-00923-8
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                            I    Q   U                            PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. 1099                                              Opened 10/01/00 Last Active 12/01/12                          E
                                                              2nd Mort O/S                                                  D
                                                              House & Lot located at 143 Francis
Bank Of America, N.a.                                         Marion Dr. Wilmington NC 28411
Attention: Managing Agent                                     FMV: $ 254,999.10 (TV $283,839.00 -
                                                              10% liquidation cost)
4161 Piedmont Pkwy
                                                            - Purchased: 04/18/1995
Greensboro, NC 27410                                          Price: $ 146,000.00

                                                                Value $                               254,999.10                          40,838.00                        0.00
Account No. 3573                                              Opened 4/11/98 Last Active 12/19/12
                                                              DOT-I/S $45,484.00/5.25/prorata
                                                              House & Lot located at 143 Francis
Nationstar Mortgage                                           Marion Dr. Wilmington NC 28411
Attn: Bankruptcy                                              FMV: $ 254,999.10 (TV $283,839.00 -
                                                              10% liquidation cost)
350 Highland Dr
                                                            - Purchased: 04/18/1995
Lewisville, TX 75067                                          Price: $ 146,000.00

                                                                Value $                               254,999.10                          45,484.00                        0.00
Account No.

Brock & Scott PLLC                                               Representing:
Attorney At Law                                                  Nationstar Mortgage                                                   Notice Only
5431 Oleander Drive
Suite 200
Wilmington, NC 28403
                                                                Value $
Account No. 3573

Nationstar Mortgage                                              Representing:
Attention: Managing Agent                                        Nationstar Mortgage                                                   Notice Only
PO Box 657083
Dallas, TX 75265-0783

                                                                Value $
                                                                                                                    Subtotal
 0
_____ continuation sheets attached                                                                                                        86,322.00                        0.00
                                                                                                           (Total of this page)
                                                                                                                     Total                86,322.00                        0.00
                                                                                           (Report on Summary of Schedules)

 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                                    Best Case Bankruptcy
             Case 13-00923-8-SWH                           Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                                  Page 32 of
                                                                            53
B6E (Official Form 6E) (4/10)


         }
         n
         b
         s
         k
         e
         1
         c
         {
         u
         S
         r
         h
         d
         P
         l
         i
         o
         E
         t
         -
         y
         C
         a
         m
         H
         g
         U




 In re         Anthony Bush                                                                                                       Case No.            13-00923-8
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                                             Best Case Bankruptcy
            Case 13-00923-8-SWH                           Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                    Page 33 of
                                                                           53
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Anthony Bush                                                                                             Case No.      13-00923-8
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No. 2645                                                2011                                                      E
                                                                                                                          D

Internal Revenue Service
Attention: Managing Agent                                                                                                                            0.00
PO Box 7346
                                                            -                                                                 X
Philadelphia, PA 19101-7346

                                                                                                                                         1,022.94              1,022.94
Account No. 2645                                                Listed only as a precaution

North Carolina Dept of Revenue
Attn Managing Agent                                                                                                                                  1.00
PO Box 25000
                                                            -                                                                 X
Raleigh, NC 27640

                                                                                                                                             1.00                    0.00
Account No. 1832                                                08/16/2010

Pender County Tax Collections                                   Personal Property Tax
Attention: Managing Agent                                       1999 Suzuki                                                                          0.00
PO Box 1047
                                                            -
Burgaw, NC 28425

                                                                                                                                            30.08                  30.08
Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           1.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)            1,054.02              1,053.02
                                                                                                                     Total                           1.00
                                                                                           (Report on Summary of Schedules)              1,054.02              1,053.02

 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                              Best Case Bankruptcy
              Case 13-00923-8-SWH                         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                           Page 34 of
                                                                           53
 B6F (Official Form 6F) (12/07)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          N
          o
          l
          p
          F
          i
          -
          C
          t
          y
          a
          m
          H
          g
          U




  In re         Anthony Bush                                                                                             Case No.         13-00923-8
                                                                                                                ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 6321                                                              Opened 4/01/08                                                T   T
                                                                                                                                                E
                                                                              Collection Attorney 06 Nationwide Insurance -                     D

Nco Fin /99                                                                   NOT ADMITTED
Attention: Managing Agent                                                 -
Po Box 15636
Wilmington, DE 19850
                                                                                                                                                                           65.00
Account No. 2150                                                              06 Premium Assignment Corp - NOT
                                                                              ADMITTED
Revenue Sys
Attention: Managing Agent                                                 -
2196 Main St
Dunedin, FL 34698
                                                                                                                                                                         217.00
Account No.




Account No.




                                                                                                                                        Subtotal
 0
_____ continuation sheets attached                                                                                                                                       282.00
                                                                                                                              (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                          282.00


 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                   S/N:28316-130304   Best Case Bankruptcy
                Case 13-00923-8-SWH                      Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                               Page 35 of
                                                                          53
B6G (Official Form 6G) (12/07)


          a
          }
          n
          b
          d
          k
          1
          U
          {
          S
          e
          c
          x
          h
          p
          i
          r
          u
          l
          L
          G
          -
          s
          E
          t
          o
          y
          C




 In re             Anthony Bush                                                                                Case No.       13-00923-8
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
              Case 13-00923-8-SWH                        Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                       Page 36 of
                                                                          53
B6H (Official Form 6H) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          H
          -
          C
          o
          t
          r
          s




 In re          Anthony Bush                                                                            Case No.       13-00923-8
                                                                                              ,
                                                                            Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                 Best Case Bankruptcy
         Case 13-00923-8-SWH                  Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                  Page 37 of
                                                               53

B6I (Official Form 6I) (12/07)
 In re    Anthony Bush                                                                                  Case No.       13-00923-8
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Owner Operator
Name of Employer                    A&B Associates DBA Tri County Trucking
How long employed                   12 years
Address of Employer                 143 Francis Marion Drive
                                    Wilmington, NC 28411
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            N/A
2. Estimate monthly overtime                                                                             $          0.00          $            N/A

3. SUBTOTAL                                                                                              $              0.00      $             N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $              0.00      $             N/A
     b. Insurance                                                                                        $              0.00      $             N/A
     c. Union dues                                                                                       $              0.00      $             N/A
     d. Other (Specify):                                                                                 $              0.00      $             N/A
                                                                                                         $              0.00      $             N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $             N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $              0.00      $             N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         1,877.69       $             N/A
8. Income from real property                                                                             $             0.00       $             N/A
9. Interest and dividends                                                                                $             0.00       $             N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $             N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             N/A
                                                                                                         $             0.00       $             N/A
12. Pension or retirement income                                                                         $         1,068.00       $             N/A
13. Other monthly income
(Specify):                                                                                               $              0.00      $             N/A
                                                                                                         $              0.00      $             N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         2,945.69       $             N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,945.69       $             N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            2,945.69
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         None Anticipated
     Case 13-00923-8-SWH               Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                           Page 38 of
                                                        53

B6J (Official Form 6J) (12/07)
 In re    Anthony Bush                                                                        Case No.    13-00923-8
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                     0.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                    75.00
                   b. Water and sewer                                                                       $                    75.00
                   c. Telephone                                                                             $                     0.00
                   d. Other See Detailed Expense Attachment                                                 $                   150.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   250.00
5. Clothing                                                                                                 $                    25.00
6. Laundry and dry cleaning                                                                                 $                    25.00
7. Medical and dental expenses                                                                              $                     0.00
8. Transportation (not including car payments)                                                              $                   125.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    50.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   135.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Personal Property                                                                 $                   20.83
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other See Detailed Expense Attachment                                                 $                 2,030.97
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                   112.49

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 3,074.29
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      None Anticipated
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 2,945.69
b. Average monthly expenses from Line 18 above                                                              $                 3,074.29
c. Monthly net income (a. minus b.)                                                                         $                  -128.60
     Case 13-00923-8-SWH           Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07      Page 39 of
                                                    53

B6J (Official Form 6J) (12/07)
 In re    Anthony Bush                                                   Case No.   13-00923-8
                                                      Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                         Detailed Expense Attachment
Other Utility Expenditures:
Cable internet phone (bundled)                                                      $                125.00
Garbage/Trash Pick-Up                                                               $                 25.00
Total Other Utility Expenditures                                                    $                150.00




Other Installment Payments:
Chapter 13 Plan Payment                                                             $            1,004.00
2nd Mortgage on home                                                                $              610.00
Child Support                                                                       $              416.97
Total Other Installment Payments                                                    $            2,030.97


Other Expenditures:
Grooming/Haircuts                                                                   $                 50.00
Payroll Taxes                                                                       $                 25.57
Delta Dental                                                                        $                 36.92
Total Other Expenditures                                                            $                112.49
              Case 13-00923-8-SWH                        Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                        Page 40 of
                                                                          53
B6 Summary (Official Form 6 - Summary) (12/07)


         }
         b
         k
         1
         {
         F
         o
         r
         m
         6
         .
         S
         u
         a
         y
         f
         c
         h
         e
         d
         l
         s




                                                           United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re          Anthony Bush                                                                             Case No.      13-00923-8
                                                                                                    ,
                                                                                   Debtor
                                                                                                         Chapter                         13




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                 254,999.10


B - Personal Property                                     Yes             4                 133,987.80


C - Property Claimed as Exempt                            Yes             5


D - Creditors Holding Secured Claims                      Yes             1                                         86,322.00


E - Creditors Holding Unsecured                           Yes             2                                          1,054.02
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             1                                            282.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       2,945.69
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       3,074.29
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                19


                                                                    Total Assets            388,986.90


                                                                                     Total Liabilities              87,658.02




Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                  Best Case Bankruptcy
              Case 13-00923-8-SWH                        Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                             Page 41 of
                                                                          53
Form 6 - Statistical Summary (12/07)


         }
         e
         b
         k
         r
         {
         t
         1
         a
         i
         F
         n
         o
         L
         m
         6
         .
         l
         S
         s
         c
         d
         R
         u
         y
         D
         f
         C




                                                           United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re           Anthony Bush                                                                                       Case No.   13-00923-8
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                   13


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                             1,054.02

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                          0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                            1,054.02


             State the following:

             Average Income (from Schedule I, Line 16)                                                       2,945.69

             Average Expenses (from Schedule J, Line 18)                                                     3,074.29

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        2,945.69


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                            0.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                             1,053.02

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                            1.00

             4. Total from Schedule F                                                                                                   282.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                               283.00




Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
         Case 13-00923-8-SWH                              Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07              Page 42 of
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                           53
                                                            United States Bankruptcy Court
                                                              Eastern District of North Carolina
 In re      Anthony Bush                                                                              Case No.   13-00923-8
                                                                                   Debtor(s)          Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      21
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date March 1, 2013                                                    Signature   /s/ Anthony Bush
                                                                                   Anthony Bush
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                          Best Case Bankruptcy
          Case 13-00923-8-SWH                        Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                                 Page 43 of
                                                                      53

                                                          United States Bankruptcy Court
                                                             Eastern District of North Carolina
 In re       Anthony Bush                                                                                     Case No.      13-00923-8
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,700.00
             Prior to the filing of this statement I have received                                        $                  1,000.00
             Balance Due                                                                                  $                  2,700.00

2.    $     281.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):         Chapter 13 Plan

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
      e.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Refer to attorney fee contract attached hereto. (Chapter 13 Cases only)

                  Representation of debtors in an adversary proceeding or other contested bankruptcy matters. (Chapter 7 cases
                  only)
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       March 1, 2013                                                    /s/ Robert J. Anderson
                                                                              Robert J. Anderson 37992
                                                                              Gillespie & Murphy, P.A.
                                                                              P.O. Drawer 888
                                                                              New Bern, NC 28563
                                                                              (252) 636-2225 Fax: (252) 636-0625
                                                                              gmpa@lawyersforchrist.com




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
Case 13-00923-8-SWH     Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                Page 44 of
                                         53


            treated and paid by the Trustee as an administrative expense of the Chapter 13
            case. These fees shall be paid by the Trustee during the first year of the plan
            unless the court directs otherwise. The Trustee may without application to the
            court, modify the Chapter 13 plan to extend the duration of the plan and/or
            increase the monthly amount of the plan payment in order to provide the funds
            necessary to pay the attorney fees as set forth herein. The Trustee must notify the
            attorney and the client(s) of any necessary plan modifications.

      d.    The undersigned has paid $ 1,335.00        upon execution of the agreement. The
            remaining balance of the upfront attorney fee and cost are $ 0.00 and must be
            paid prior to the preparation and filing of the Chapter 13 bankruptcy petition. The
            Chapter 13 petition shall not be filed, in accordance with the bankruptcy
            code, until all upfront fees and costs, as set forth above are paid and all
            information requested by attorney is provided, the petition is prepared,
            reviewed by “Client(s)” for accuracy and signed for verification by
            “Client(s)”.

            Client agrees that if payments are not made as outlined above, attorney may
            immediately close client(s) file, in which case no further action needs to be taken
            or services rendered by attorney and said file shall be closed. The bankruptcy
            court filing fee shall be returned to the client(s) with all other fees paid non-
            refundable to attorney. In the event the “Client(s)” has not paid the upfront fees
            and costs within 180 days of the date of this Agreement, it shall be presumed that
            the “Client(s)” has elected not to file bankruptcy. Any attorney fees paid and
            costs paid for services such as, but not limited to, credit report, credit counseling,
            debtor education or similar services after this 180 days shall be forfeited by
            Client(s) to attorney as non-refundable.se fee in a Chapter 13 case is as
            provided in the statement of approved compensation published annually by
            the clerk and included in the Administrative Guide to Practice and
            Procedure. ($3000.00) Though the standard fee will typically be approved by
            the court without hearing, the trustee may recommend, in appropriate cases,
            that a lower fee be allowed. In recommending a standard base fee in
            converted cases, the trustee shall take into consideration the compensation
            already received.
            (2)     SERVICES INCLUDED IN THE BASE FEE. The standard fee
                    includes the basic services reasonably necessary to properly represent
                    the debtor before the bankruptcy court during the first 12 months
                    after filing the case.
            (3)     APPLYING FOR A HIGHER BASE FEE. Applications for approval
                    of a base fee higher that the standard base fee must be filed by the
                    debtor’s attorney within 60 days after the conclusion of the creditor’s
                    meeting under § 341 of the Bankruptcy Code.
            (4)     NON-BASE FEE SERVICES DEFINED. The following services are
                    not covered by the standard base fee, and additional compensation for
                    these services may be awarded by the court:
Case 13-00923-8-SWH     Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07          Page 45 of
                                         53


                  (A)     motion for authority to sell real property;
                  (B)     application to incur debt
                  (C)     motion to extend or impose the automatic stay for repeat filers;
                  (D)     prosecution or defense of adversary proceedings;
                  (E)     filing of formal motions or responses pertaining to three or
                          more matters arising during the first year of the case, including
                          but not limited to the services listed below in subsection (6);
                          and
                  (F)     any other service that, in the discretion of the court, reasonably
                          warrants additional compensation.
            (5)   APPROVAL OF NON-BASE FEES. Except as specified in subsection
                  (6), applications for fees for any non-base fee services provided to a
                  chapter 13 debtor must be approved by the court. Notice of each
                  application for fees and expenses in any amount under $1,000 must be
                  sent to each debtor, the trustee, and the bankruptcy administrator.
                  Notice of each application for fees and expenses of $1,000 and above
                  must be given to all parties in interest.
            (6)   PRESUMPTIVE NON-BASE FEES/APPROVAL/NOTICE. The list
                  of presumptively reasonable non-base fee services are contained in the
                  statement of approved compensation published by the clerk and
                  included in the Administrative Guide to Practice and Procedure.
                  Applications for the presumptive non-base fee must be filed with a
                  notice verifying completion of the service and a certificate of service
                  evidencing service of the notice on each debtor, the trustee and the
                  bankruptcy administrator. The applications for presumptive non-
                  base fees will automatically be approved by the court. Alternatively,
                  the debtor’s attorney may apply to the court for approval of non-base
                  fees on a “time and expense” basis pursuant to Rule 2016 of the
                  Federal Rules of Bankruptcy Procedure and 11 U.S.C. § 330.
                  Presumptive Non-base Fees effective October 1, 2008 as outlined in
                  the Administrative Guide are listed below:



                  (A) Motion to extend or impose the automatic stay
                         for repeat filers                                   $400.00
                  (B) Motion to use interrogatories, and interrogatories     $150.00
                  (C) Motion for turnover                                    $400.00
                  (D) Motion to avoid lien                                   $450.00
                  (E) Motion to modify plan post-confirmation                $450.00
                  (F) Motion to substitute collateral                        $400.00
                  (G) Motion for authority to sell property                  $450.00
                  (H) Application to incur debt                              $200.00
                  (I) Defense of motion for relief from stay and/or
                         co-debtor stay                                      $500.00
Case 13-00923-8-SWH    Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07           Page 46 of
                                        53


                   (J) Handling of an insurance inquiry received more
                          than twelve (12) months after the Chapter
                          13 case is filed                                  $100.00
                   (K) Motion to set aside dismissal                        $350.00
                   (L) Defense of motion to dismiss                         $250.00
                   (M) Motion for hardship discharge                        $500.00
                   (N) Objection to claims                                  $150.00
                   (O) Notice to abandon property                           $150.00
                   (P) Motion to Value Collateral and Avoid Mortgage        $500.00
                   (Q) Motion to Deem Mortgage Current (to be paid
                          directly by the debtor)                           $350.00
                   (R) Amendment to schedules or statement of
                          Financial Affairs                                 $100.00
                   (S) Objection to Confirmation                            $350.00


                   COSTS APPLIED TO ALL: When the costs for copying and postage
                   exceed $25.00, the actual amount, plus the presumptive fee, shall be
                   reimbursed to counsel.

            (7)    DISCLOSURE OF FEE PROCEDURES. Every attorney for a
                   chapter 13 debtor must disclose to the debtor the procedures
                   applicable in this district to awards of attorneys’ fees in chapter 13
                   cases.
            (8)    INTERIM APPROVAL OF PARTIAL BASE FEE. An attorney fee
                   as specified in the Administrative Guide to Practice and Procedure for
                   services provided to the debtor up to and including the petition date is
                   authorized and shall be considered part of the base fee. Any amount
                   in excess of the base fee collected by the attorney prior to filing the
                   chapter 13 petition must be held in the attorney’s client trust account
                   pending further order of the court or approval of the fees in
                   accordance with this rule.
            (9)    PAYMENT OF ATTORNEY FEES/MODIFICATION OF PLAN.
                   The following will be treated and paid as administrative expenses of
                   the chapter 13 case:
                   (A)    the standard base fee, less any partial base fee paid prior to
                          filing the chapter 13 petition; and
                   (B)    any additional amounts awarded in excess of the standard base
                          fee or for non-base fee services.
            These fees shall be paid by the trustee at the rate set in the Administrative
            Guide to Practice and Procedure unless the court directs otherwise. The
            trustee may, without application to the court, modify the chapter 13 plan to
            extend the duration of the plan and/or increase the monthly amount of the
            plan payment in order to provide the funds necessary to pay attorney fees.
            The trustee must notify the debtor and the debtor’s attorney of the plan
            modification.
Case 13-00923-8-SWH      Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                Page 47 of
                                          53


      f.     Upon the payment of the up-front portion of the attorney fees set forth in 1(b)
             above, a file shall be opened and all fees paid to attorney towards the up-front
             attorney fees shall be deemed non-refundable. In the event that client elects not to
             file bankruptcy, all monies paid will be first applied to the up-front attorney’s fees
             and non-refundable, then to other costs incurred by attorney, then to the cost of
             credit counseling fees, credit report fees, bankruptcy court filing fees or other
             similar fees/costs and if not expended for such purpose shall be refundable to the
             “Client(s)’ upon request.

      g.     If additional services, not included in the standard base fee nor included in local
             rule 2016-1 of the EDNC Bankruptcy Rules, do become necessary, the “Client(s)”
             agree(s) to pay for these additional services, upon request, in advance, before the
             services are rendered at the hourly rate of $300.00 per hour, or a flat fee which
             payments will be deposited and kept in attorney’s client trust account until any
             necessary court approval is obtained. In the alternative, the attorney may agree to
             provide the service and to apply to the Court to add the fees for said services paid
             through clients Chapter 13 plan, instead of requiring payment directly from
             client(s).

 2.   LEGAL SERVICES PROVIDED:
      a.  For the fees set forth in 1(a) above, the attorney shall provide basic services
          reasonably necessary to properly prepare the chapter 13 bankruptcy petition and
          represent the “Client(s)” before the bankruptcy court during the first 12 months
          after filing the petition, however, additional fees may be awarded during this 12
          months in accordance with the Local Rule 2016-1(a)4(E) of the bankruptcy court
          for the Eastern District of North Carolina as set forth in 1(e) above. These
          services include the following:
          1.       Analysis of “Client(s)” financial situation and advising Client(s);
          2.       Preparation of petition, schedules, statement of financial affairs,
                   supplemental local forms, chapter 13 plan and mailing matrix;
          3.       Correspondence to “Client(s)” regarding “Client(s)’ responsibilities and
                   attendance of Section 341 meeting;
          4.       Preparation for and representing “Client(s)” at Section 341 meetings;
          5.       Exemption planning;
          6.       Providing information to the court, the trustee and creditors in accordance
                   with the Bankruptcy Code and the Local Rules of the EDNC;
          7.       Review of Orders related to the case;
          8.       Maintaining custody and control of case file;
          9.       Obtaining copies of proof of claims and review, if necessary;
          10.      If needed, preparation and filing of proofs of claim on your behalf for your
                   creditors;
          11.      Defending objection to confirmation of your chapter 13 plan;
          12.      Assumption and rejections of unexpired leases and executory contracts;
          13.      Preparation for and attendance at valuation hearings;
          14.      Calculation of plan payment modifications (no motion filed);
          15.      Adding creditor addresses to mailing matrix as needed (however,
Case 13-00923-8-SWH      Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07              Page 48 of
                                          53


                    “Client(s)” must pay the fee charged by the court for any such amendment
                    which is currently $30.00 per amendment);
             16.    Responding to “Client(s)’contacts regarding changes in “Client(s)”
                    financial and personal circumstances and advising the court and trustee of
                    the same, if necessary, for the proper administration of “Client(s)” case;
             17.    Communicating with “Client(s)”as needed for the proper administration of
                    “Client(s)” case;
             18.    Communicating with creditors as needed for the proper administration of
                    “Client(s)” case;
             19.    Communicating with the court and trustee as needed for the proper
                    administration of “Client(s)” case;

      b.     However, in the event some unusual or unexpected event or action occurs that
             requires more time, expense, and labor for any of the above, the attorney has the
             right to seek an award of fees through the court for such time, expense and labor.

 3.   LEGAL SERVICES NOT PROVIDED:
      a.  Conversion to Chapter 7;
      b.  Representation in any action objecting to discharge in bankruptcy or discharge of
          a particular debt;
      c.  Representation in any Adversary Proceeding filed by the Trustee or creditor or
          Bankruptcy Administrator;
      d.  Post-discharge actions;
      e.  Representation before any tax authority
      f.  The cost of long distance telephone calls and the cost of delivery (other than
          postage)
      g.  Fielding telephone calls and correspondence from client’s creditors prior to filing
          of case with the court
      h.  Searching title or lien records
      i.  Services initiated to resolve issues concerning concealment of debts or assets or
          misrepresentation of facts
      j.  Non-appearances at court or the first meeting of creditors
      k.  Negotiating or arranging for the retention, redemption. or post discharge release of
          collateral
      l.  Reaffirmation agreements and/or motions for redemption

 4.   CLIENT(S) OBLIGATIONS:
      a.   To pay the fees set out above;
      b.   To make all payments required by the Client(s) Chapter 13 plan to the Chapter 13
           Trustee and pay all outside creditor payments pursuant to “Client(s)” Chapter 13
           plan;
      c.   To provide accurately, completely and honestly all the information necessary to
           properly analyze the client(s) financial situation and prepare the chapter 13
           bankruptcy petition, schedules, statement of financial affairs, supplemental local
           forms, chapter 13 plan, mailing matrix and other documents as required;
      d.   To thoroughly review and sign the bankruptcy petition, schedules, statement of
Case 13-00923-8-SWH      Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07             Page 49 of
                                          53


             financial affairs, supplemental local forms, chapter 13 plan, mailing matrix and
             other documents as required and advise attorney of any inaccuracies or changes
             needed;
      e.     To keep the attorney advised at all times of all the client(s) current contact
             information, including but not limited to, mailing addresses, physical address,
             email address, work phone number, home phone number, cell number and any
             other means of contact;
      f.     To attend the section 341 meeting of creditors and any other court hearings set in
             “Client(s)” case and to arrive in a timely manner dressed appropriate for a court
             proceeding;
      g.     To provide any information requested by the Chapter 13 Trustee, Court,
             Bankruptcy Administrator, attorney for “Client(s)” and any other party in the case,
             unless the Court rules the “Client(s)” is/are not required to provide the
             information;
      h.     To respond immediately to any phone call, correspondence and requests by the
             Attorney or staff of Attorney;
      i.     Comply with the obligations placed upon the “Client(s)’ by Local Rule 4002-1(g),
             a copy of which is attached hereto;
      j.     To do everything asked of “Client(s)’ by attorney, Trustee, Court and Bankruptcy
             Administrator for proper administration of “Client(s)” case.

 5.   POWER OF ATTORNEY REGARDING PAYMENTS MADE BY “CLIENT(S)”
      a.  Pursuant to Local Rule 3070-1(a) of Local Rules of the EDNC Bankruptcy Court,
          upon conversion or dismissal of your Chapter 13 case prior to confirmation, and
          unless the Court orders otherwise, the Chapter 13 Trustee shall return to the
          debtor any payments made by the debtor under the proposed plan, less an
          administrative expense claim under 11 U.S.C. 503(b). Pursuant to the current
          practice in the EDNC, if after administrative expenses are paid, there is still
          money remaining, the Chapter 13 Trustee will return the payment made by the
          debtor to the office of the attorney representing debtor that filed the case instead
          of sending the money directly to the debtor.
          THE “CLIENT(S)” HEREBY EXPRESSLY GRANTS ATTORNEY A
          POWER OF ATTORNEY TO NEGOTIATE ANY FUNDS RECEIVED
          FROM THE CHAPTER 13 TRUSTEE’S OFFICE UPON CONVERSION
          OR DISMISSAL OF THE CHAPTER 13 CASE PRIOR TO
          CONFIRMATION IF THE ATTORNEY FEES THAT WERE TO BE PAID
          THROUGH THE CHAPTER 13 PLAN PURSUANT TO THIS
          AGREEMENT ARE STILL DUE AND OWING TO ATTORNEY AT THE
          TIME OF THE CONVERSION OR DISMISSAL.
      b.  Client understands and agrees that all attorney fees due attorney pursuant to this
          agreement are due to Attorney regardless of whether the case is confirmed or
          dismissed prior to confirmation and “Client(s)” is/are not entitled to any refund of
          any fees paid to Attorney pursuant to this agreement or by Chapter 13 Trustee.

 6.   NO PROMISES OF OUTCOME, FUTURE CREDIT OR TAX ADVISE:
      a.   Client acknowledges that neither attorney nor attorney’s staff has made any
Case 13-00923-8-SWH        Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                Page 50 of
                                            53


              promises or guarantees about the outcome of “Client(s)” case or the “Client(s)”
              ability to obtain future credit.
       b.     The attorney representation of the “Client(s)” specifically does not include and the
              attorney has not undertaken to give tax advice to the client, and attorney has
              advised the debtor to seek separate counsel or a CPA or tax advisor with regard to
              any tax advice or tax ramifications of the filing of any bankruptcy proceeding.

 7.    WITHDRAWAL FROM REPRESENTATION:
       The attorney reserves the right to withdraw from this matter (i) if the client fails to honor
       any part/portion of this agreement, (ii) for any just reason as permitted or required under
       the North Carolina State Bar’s Rules of Professional Conduct, (iii) as permitted by the
       rules of courts of the State of North Carolina and/or the Bankruptcy Court. Notification
       of withdrawal shall be made in writing to the client. Attorney shall have an automatic
       right to withdraw from this matter if a check delivered by the client to the attorney is
       returned for insufficient funds.

 8.    RETENTION OF CLIENT(S) RECORDS:
       Attorney shall scan for retention any of the books, papers, and/or records related to the
       representation of the client and return all hard copies to the client, if requested.

       Client acknowledges and agrees that client's file (with the exception of personal
       belongings and original documents such as deeds, wills, contracts, etc.) may be destroyed
       on or after six (6) years from the date client's file is closed. No notice, written or
       otherwise, shall be provided to client of file destruction following this six year period.

 9.    READ CAREFULLY: Client understands that no paralegal, secretary, or other
       non-lawyer working at the offices of Gillespie and Murphy, P.A., has the authority
       (i) to give legal advice, (ii) to recommend that client should or should not file for the
       protection of bankruptcy, (iii) to recommend that client file under one bankruptcy
       chapter rather than another chapter, to the extent that such advice or
       recommendation would involve the exercise of independent legal judgement. Client
       acknowledges that no one employed by or affiliated with the law offices of Gillespie
       and Murphy, P.A., other than an attorney, has given such advice or made any such
       recommendation to the client.

 10.   Caution: Client understands that if client is behind in payments on a car, mobile home,
       furniture loan, lease or other secured debt, the bankruptcy laws do not stop a creditor
       from repossessing or otherwise taking such property until such time as the client’s case
       gets filed with the Bankruptcy Court. Similarly, client understands that foreclosure on a
       home or a piece of land cannot be stopped until the clients case gets filed with the
       Bankruptcy Court.

 11.   Returned Checks: Client will be charged (i) a processing fee of $25.00 for any check in
       which payment has been refused by the payor bank because of insufficient funds or
       because the drawer did not have an account at that bank and (ii) any service charges
       imposed on the attorney by a bank or depository for processing the dishonored check,
       pursuant to the provisions of N.C.G.S. section 6-21.3 and 25-3-506.
Case 13-00923-8-SWH            Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07            Page 51 of
                                                53


 12.    Payments: All payments must be made in cash, certified check, cashiers check, or money
        order unless approved by the attorney handling the case. Any payments made by personal
        check will delay the filing of the related bankruptcy petition for ten (10) business days to
        allow checks to clear the bank.

 Client acknowledges that client has read and understands all the terms of this client authorization
 for legal services/fee contract. Client also acknowledges having received a copy of this document
 which consists of     10      pages.

 /s/Anthony D. Bush                         _____________             02/05/13
 Signature of Client                           Seal                    Date

 Anthony D. Bush
 Hand written Name of Client
Case 13-00923-8-SWH            Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                          Page 52 of
                                                53


                                                  RULE 4002-1
                                                DEBTOR DUTIES

 (a)    The following shall apply to individual debtors in all cases.
        (1)      FINANCIAL INFORMATION. Every individual debtor shall bring to the
                 meeting of creditors under §341 and make available to the trustee evidence of current income,
                 including copies of all payment advices or other evidence of payment, if any, with all but the last
                 four digits of the debtor’s social security number redacted, received by the debtor from an
                 employer within 60 days before the filing of the petition.
        (2)      TAX RETURN. At the meeting of creditors under §341, the debtor shall provide to the trustee a
                 copy of the debtor’s Federal income tax return for the most recent tax year ending immediately
                 before the commencement of the case and for which a return was filed, including any attachments,
                 or a transcript of the tax return, or provide a written statement that the documentation does not
                 exist.
        (3)      The debtor’s obligation to provide tax returns under Federal Bankruptcy Rules 4002(b)(3) and
                 4002 (b)(4), and Local Bankruptcy Rule 4002-1(a)(2) and (b)(2) is subject to procedures for
                 safeguarding the confidentiality of tax information established by the Director of the
                 Administrative Office of the United States Courts, except that with respect to tax returns provided
                 b the debtor under Local Bankruptcy Rule 4002-1(a)(2) and (b)(2), the trustee and bankruptcy
                 administrator are not subject to the procedures for requesting the obtaining access to tax
                 information established by the Director of the Administrative Office of the United States Courts.

 (g)    CHAPTER 13 - DEBTOR DUTIES. The following shall apply in chapter 13 cases.
        (1)   SCHEDULES AND STATEMENTS REQUIRED. A debtor in a case under chapter 13 shall
              comply with the requirements of Local Bankruptcy Rule 1007-1.
        (2)   PAYMENTS UNDER PLAN. The debtor shall begin making the payments called for in the
              proposed plan on the first day of the first month following the month in which the chapter 13 case
              is filed. The payments shall be made as directed by the standing chapter 13 trustee.
        (3)   DIRECT PAYMENTS TO CREDITORS. If secured claims are to be paid outside the plan, the
              debtor shall continue to make the regular scheduled payments to the secured creditor prior to
              confirmation.
        (4)   DISPOSITION OF PROPERTY. The debtor shall not dispose of any non-exempt property having
              a fair market value of more than $5,000 by sale or otherwise without prior approval of the trustee
              and an order of the court.
        (5)   OBTAINING CREDIT. The debtor shall not purchase additional property or incur additional debt
              of $7,500 or more without prior approval from the court. The debtor must give notice of the
              application to purchase additional property or to incur additional debt to the chapter 13 trustee,
              who must respond within five days of receipt of the notice. If no objection is filed, the court may
              approve the application without a hearing.
        (6)   ADEQUATE PROTECTION. When a case is dismissed prior to confirmation, the court may
              require the debtor to provide adequate protection to one or more secured creditors by directing that
              the chapter 13 trustee make adequate protection payments from funds received under paragraph
              (f)(2) (Payments Under Plan) of this rule.
        (7)   INSURANCE COVERAGE.
              (A)       The debtor shall keep the property of the debtor and the bankruptcy estate insured in a
                        manner and to the extent as may be deemed necessary, with loss payable clauses, in the
                        case of pledged or mortgages property, in favor of the appropriate secured creditors as
                        their interest may appear.
              (B)       The debtor shall ensure that any vehicle, if it is property of the debtor or property of the
                        estate and is required by a security agreement, lease or other similar agreement to be
                        covered by collision insurance, is not driven, unless the vehicle is so covered.

 BANKRUPTCY.NEW LAW FORMS/CHAPTER 13 FEE AGREEMENT REV. 9.2012
Case 13-00923-8-SWH         Doc 15 Filed 03/11/13 Entered 03/11/13 16:26:07                Page 53 of
                                             53



                              Gillespie and Murphy, P.A.
                                       Attorneys at Law
                                  gmpa@lawyersforchrist.com
                                       1-800-453-9851
 320 Middle Street                                                  321 N. Front Street
 Post Office Drawer 888                                             Wilmington, NC 28401
 New Bern, NC 28563                                                 (910) 254-3456
 (252) 636-2225

      Client Authorization for Legal Services, Bankruptcy Fee Contract, Chapter 13 Case

 The undersigned “Client(s)” retains the law offices of Gillespie and Murphy, P.A. (hereafter
 referred to as “attorney”) for the purpose of filing a petition under Chapter 13 of the U.S.
 Bankruptcy Code (the “case.”) The attorney shall represent the client in a Chapter 13 bankruptcy
 proceeding before the United States Bankruptcy Court for the Eastern District of North Carolina,
 subject to the terms of this agreement as set forth herein.

 1.      FEES AND COSTS AND TERMS OF PAYMENT:
         a.   Client(s) agree(s) attorney shall be paid a total of $ 4,035.00          .
              This amount includes the following:
              1.          $3,700.00          attorney fees;
              2.          $20.00             credit report fee ($20.00 per person);
              3.          $34.00             internet credit counseling fee;
              4.                             debtor education fee, if any;
              5.          $281.00            bankruptcy court filing fee;
              6.                             other services

         b.     The following amount of fees and costs must be paid prior to the final preparation
                of and filing of the Chapter 13 bankruptcy petition:
                1.          $1,000.00          up front portion of attorney fee;
                2.          $20.00             credit report fee;
                3.          $34.00             internet credit counseling fee;
                4.                             debtor education fee, if any;
                5.          $281.00            bankruptcy court filing fee;
                6.                             other services

         TOTAL UP FRONT FEES AND COSTS:                $1,335.00

         c.     The balance of the attorney fee of $ 2,700.00       shall be paid through the
                client(s) Chapter 13 plan in accordance with the applicable provisions of the
                Bankruptcy Code and the applicable provisions of the Local Rules of the
                Bankruptcy Court for the Eastern District of North Carolina (EDNC). Attorney
                fees to be paid through the Chapter 13 plan (the portion of the attorney fee not
                paid upfront/pre-petition and any additional compensation awarded the attorney
                upon application to the court pursuant to Rule 2016-1 (a)(9)(A) herein) shall be
